Case 1:19-cv-23084-KMW Document 65-10 Entered on FLSD Docket 09/28/2020 Page 1 of 17




                                EXHIBIT 9
Case 1:19-cv-23084-KMW Document 65-10 Entered on FLSD Docket 09/28/2020 Page 2 of 17




                                                                                       SANTOS-EXP 000420
Case 1:19-cv-23084-KMW Document 65-10 Entered on FLSD Docket 09/28/2020 Page 3 of 17




                                                                                       SANTOS-EXP 000421
Case 1:19-cv-23084-KMW Document 65-10 Entered on FLSD Docket 09/28/2020 Page 4 of 17




                                                                                       SANTOS-EXP 000422
Case 1:19-cv-23084-KMW Document 65-10 Entered on FLSD Docket 09/28/2020 Page 5 of 17




                                                                                       SANTOS-EXP 000423
Case 1:19-cv-23084-KMW Document 65-10 Entered on FLSD Docket 09/28/2020 Page 6 of 17




                                                                                       SANTOS-EXP 000424
Case 1:19-cv-23084-KMW Document 65-10 Entered on FLSD Docket 09/28/2020 Page 7 of 17




                                                                                       SANTOS-EXP 000425
Case 1:19-cv-23084-KMW Document 65-10 Entered on FLSD Docket 09/28/2020 Page 8 of 17




                                                                                       SANTOS-EXP 000426
Case 1:19-cv-23084-KMW Document 65-10 Entered on FLSD Docket 09/28/2020 Page 9 of 17




                                                                                       SANTOS-EXP 000427
Case 1:19-cv-23084-KMW Document 65-10 Entered on FLSD Docket 09/28/2020 Page 10 of
                                      17




                                                                                     SANTOS-EXP 000428
Case 1:19-cv-23084-KMW Document 65-10 Entered on FLSD Docket 09/28/2020 Page 11 of
                                      17




                                                                                     SANTOS-EXP 000429
Case 1:19-cv-23084-KMW Document 65-10 Entered on FLSD Docket 09/28/2020 Page 12 of
                                      17




                                                                                     SANTOS-EXP 000430
Case 1:19-cv-23084-KMW Document 65-10 Entered on FLSD Docket 09/28/2020 Page 13 of
                                      17




                                                                                     SANTOS-EXP 000431
Case 1:19-cv-23084-KMW Document 65-10 Entered on FLSD Docket 09/28/2020 Page 14 of
                                      17




                                                                                     SANTOS-EXP 000432
Case 1:19-cv-23084-KMW Document 65-10 Entered on FLSD Docket 09/28/2020 Page 15 of
                                      17




                                                                                     SANTOS-EXP 000433
Case 1:19-cv-23084-KMW Document 65-10 Entered on FLSD Docket 09/28/2020 Page 16 of
                                      17




                                                                                     SANTOS-EXP 000434
Case 1:19-cv-23084-KMW Document 65-10 Entered on FLSD Docket 09/28/2020 Page 17 of
                                      17




                                                                                     SANTOS-EXP 000435
